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                                   Document      Page 1 of 5



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                       :         CHAPTER 7
                                             :
KEIDRA AIESHA ALI-GADSON,                    :         CASE NO. 19-59740-WLH
                                             :
         Debtor.                             :
                                             :

                                 CERTIFICATE OF SERVICE

     I, S. Gregory Hays, Chapter 7 Trustee, certify that I am over the age of 18 and that on this
date, I served a copy of the foregoing NOTICE OF TRUSTEE’S FINAL REPORT AND
APPLICATIONS FOR COMPENSATION AND DEADLINE TO OBJECT (NFR) [Docket
# 101] by first class U.S. Mail, with adequate postage prepaid, on the persons or entities at the
addresses stated on the attached Exhibit “A”.

     I, S. Gregory Hays, Chapter 7 Trustee, certify that I am over the age of 18 and that on this
date, I served a copy of the foregoing NOTICE OF TRUSTEE’S FINAL REPORT AND
APPLICATIONS FOR COMPENSATION, DEADLINE TO OBJECT AND HEARING
[Docket # 102] by first class U.S. Mail, with adequate postage prepaid, on the persons or entities
at the addresses stated on the attached Exhibit “A”.

         This 14th day of June, 2022.

                                                        /s/ S. Gregory Hays
                                                       S. Gregory Hays
                                                       Chapter 7 Trustee

Hays Financial Consulting, LLC
2964 Peachtree Rd, N.W
Suite 555
Atlanta, Georgia 30305
(404) 926-0060
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                                   Exhibit “A”
              Case 19-59740-wlh            Doc 103    Filed 06/14/22          Entered 06/14/22 11:00:11     Desc Main
Label Matrix for local noticing                 KeidraDocument
                                                       Aiesha Ali-GadsonPage 3 of 5           Mark Allan Baker
113E-1                                          PO Box 1284                                   McMichael Taylor Gray, LLC
Case 19-59740-wlh                               Redan, GA 30074-1284                          Suite 260
Northern District of Georgia                                                                  3550 Engineering Drive
Atlanta                                                                                       Peachtree Corners, GA 30092-2871
Tue Jun 14 10:05:08 EDT 2022
John V. Ball                                    Michael J. Bargar                             John Robert Callison
Humphries & King Realty                         Arnall Golden Gregory, LLP                    Barrett Daffin Frappier Turner
Suite 510-205                                   Suite 2100                                     and Engel, LLP
830 Glenwood Avenue                             171 17th Street, N.W.                         Suite 100, 4004 Belt Line Rd
Atlanta, GA 30316-1966                          Atlanta, GA 30363-1031                        Addison, TX 75001-4320

Crown Realty & Manag                            Dekalb County Watershed                       Directv, LLC
1702 Macy Dr                                    774 Jordan Lane, Suite 200                    by American InfoSource as agent
Roswell, GA 30076-6348                          Decatur GA 30033-5700                         4515 N Santa Fe Ave
                                                                                              Oklahoma City, OK 73118-7901


(p)BARRETT DAFFIN FRAPPIER TURNER & ENGEL LL    (p)GEORGIA DEPARTMENT OF REVENUE              Michelle Rene Ghidotti-Gonsalves
4004 BELT LINE ROAD SUITE 100                   COMPLIANCE DIVISION                           The Law Offices of Michelle Ghidotti
ADDISON TX 75001-4320                           ARCS BANKRUPTCY                               1920 Old Tustin Ave.
                                                1800 CENTURY BLVD NE SUITE 9100               Santa Ana, CA 92705-7811
                                                ATLANTA GA 30345-3202

Laura A. Grifka                                 S. Gregory Hays                               Hays Financial Consulting, LLC
McMichael Taylor Gray, LLC                      Hays Financial Consulting, LLC                S. Gregory Hays
3550 Engineering Drive                          Suite 555                                     2964 Peachtree Road NW
Suite 260                                       2964 Peachtree Road                           Suite 555
Peachtree Corners, GA 30092-2871                Atlanta, GA 30305-4909                        Atlanta, Ga 30305-4909

IRS                                             LaVerne Donaldson                             Office of the United States Trustee
401 W. Peachtree St., NW                        1691 TREELINE RD                              362 Richard Russell Building
Stop #334-D                                     Lithonia, GA 30058-5675                       75 Ted Turner Drive, SW
Room 400                                                                                      Atlanta, GA 30303-3315
Atlanta, GA 30308

Rushi D. Patel                                  Penn Foster School                            Philip L. Rubin
The Patel Law Group, LLC                        14300 N. Northsight Blvd Ste 125              Lefkoff Rubin Gleason Russo Williams PC
1995 N. Park Pl. SE                             Scottsdale AZ 85260-3674                      Suite 900
Ste 565                                                                                       5555 Glenridge Connector
Atlanta, GA 30339-2240                                                                        Atlanta, GA 30342-4762

Rushmore Loan Management Services               Santander Consumer USA                        Santander Consumer USA Inc.
PO Box 55004                                    Attn: Bankruptcy                              Reg. Agent: C T Corporation System
Irvine, CA 92619-5004                           Po Box 961245                                 289 S Culver Street
                                                Fort Worth, TX 76161-0244                     Lawrenceville, GA 30046-4805


Source Receivables Mgmt, Llc                    (p)SPRINT                                     T Mobile/T-Mobile USA Inc
Attn: Bankruptcy Dept                           C O AMERICAN INFOSOURCE                       by American InfoSource as agent
4615 Dundas Dr., Suite 102                      4515 N SANTA FE AVE                           4515 N Santa Fe Ave
Greensboro, NC 27407-1761                       OKLAHOMA CITY OK 73118-7901                   Oklahoma City, OK 73118-7901


U.S. Bank National Association                  U.S. Bank National Association,               U.S. Bank National Association, not in its i
Rushmore Loan Management Services               c/o Rushmore Loan Management Services         Rushmore Loan Management Services
P.O. Box 55004                                  P.O. Box 52708                                P.O. Box 55004
Irvine, CA 92619-5004                           Irvine, CA 92619-2708                         Irvine, CA 92619-5004
              Case 19-59740-wlh               Doc 103        Filed 06/14/22          Entered 06/14/22 11:00:11            Desc Main
(p)US DEPARTMENT OF HOUSING AND URBAN DEVELOP          UnitedDocument
                                                              States Attorney Page 4 of 5                   (p)USCB CORPORATION
ATTN ROBERT ZAYAC                                      Northern District of Georgia                         PO BOX 75
40 MARIETTA ST SUITE 300                               75 Ted Turner Drive SW, Suite 600                    ARCHBALD PA 18403-0075
ATLANTA GA 30303-2812                                  Atlanta GA 30303-3309


Uscb Corporation                                       WESTLAKE FINANCIAL SERVICES                          Wells Fargo Bank N.A.
PO Box 1259, Dept 119881                               4751 WILSHIRE BLVD                                   1 Home Campus X2303-012
Oaks, PA 19456-1259                                    SUITE 100                                            Des Moines, IA 50238
                                                       LOS ANGELES CA 90010-3847


Wells Fargo Bank, N.A.                                 Wells Fargo Bank, N.A.                               Wells Fargo Dealer Services
DFLT Doc Processing N9286-01Y                          Timothy J. Sloan, CEO                                Attn: Bankruptcy
1000 Blue Gentian Road                                 101 N. Phillips Avenue                               Po Box 19657
Eagan, MN 55121-1663                                   Sioux Falls, SD 57104-6714                           Irvine, CA 92623-9657


Wells Fargo Home Mortgage                              Westlake Financial Services
Attn: Bankruptcy Dept                                  Attn: Bankruptcy
P.O. Box 10335                                         Po Box 76809
Des Moines, IA 50306-0335                              Los Angeles, CA 90076-0809




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Abbey Ulsh Dreher                                      Georgia Department of Revenue                        (d)Brandi R. Lesesne
Barrett Daffin Frappier Turner Engel LLP               Compliance Division                                  Barrett Daffin Frappier Turner Engel LLP
Suite 100                                              ARCS Bankruptcy                                      Suite 100
4004 Belt Line Road                                    1800 Century BLVD NE Suite 9100                      4004 Belt Line Road
Addison, TX 75001                                      Atlanta, GA 30345-3202                               Addison, TX 75001

Sprint Corp                                            U.S. Department of Housing & Urban                   (d)U.S. Department of Housing and Urban Devel
Attention Bankruptcy                                   Development                                          451 7th Street S.W.
PO Box 7949                                            451 Seventh St SW                                    Washington, DC 20410
Overland Park, KS 66207-0949                           Washington, DC 20410


Uscb Corporation
Attn: Bankruptcy
Po Box 75
Archbald, PA 18403




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Santander Consumer USA Inc.                         (d)U.S. Bank National Association                    (u)U.S. Bank Trust National Association
                                                       Rushmore Loan Management Services
                                                       PO Box 55004
                                                       Irvine, CA 92619-5004
              Case 19-59740-wlh   Doc 103    Filed 06/14/22 Entered 06/14/22 11:00:11   Desc Main
(u)Wells Fargo Bank, N.A.              End ofDocument
                                              Label MatrixPage 5 of 5
                                       Mailable recipients   40
                                       Bypassed recipients    4
                                       Total                 44
